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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO. 09-60212-CR-MARRA



  UNITED STATES OF AMERICA,

  vs.

  GREGORY WELCH,

        Defendant.
  ______________________________/


                            GOVERNMENT=S RESPONSE TO DEFENDANT=S
                               MOTION TO TERMINATE PROBATION

             The United States of America, by and through the undersigned Assistant United States

  Attorney, hereby files its response to the defendant Gregory Welch’s pro se motion to terminate

  probation (DE: 105) and states the following:

             On September 20, 2010, the defendant was sentenced to 180 months’ imprisonment

  followed by 3 years of supervised release for possession of a firearm by a convicted felon (DE:

  45). On May 21, 2020, the defendant’s sentence was reduced to time served followed by 3 years

  of supervised release with a special condition of home confinement with electronic monitoring for

  a period of nine months (DE: 101, 102).

             The defendant commenced supervised release 1 on May 21, 2020. His supervised release

  is scheduled to expire on May 20, 2023. On October 29, 2020, the defendant filed the instant pro

  se motion in which he seeks early termination of supervised release.


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      In his motion, defendant refers to supervised release as “probation.”
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         The defendant has been on supervised release for approximately six months. On August

  20, 2020, the defendant filed his first motion to terminate probation in which he asked the Court

  to vacate or modify his house arrest (DE: 103). On August 20, 2020, the Court granted the motion

  in part and gave the defendant the option of removing the monitor and allowing himself to be

  monitored by voice recognition (DE: 104). The defendant took the option of voice recognition

  monitoring.

         On November 17, 2020, the undersigned contacted the defendant’s assigned probation

  officer who advised that the defendant has missed a couple check in calls placed by the probation

  office and the last call missed by the defendant was a couple days before the defendant filed the

  instant motion. The defendant seeks early probation on the grounds that he is taking classes and

  wishes to participate in interviews around the country. The defendant’s classes are virtual so he

  attends them online. The defendant’s home confinement does not preclude him from participating

  in interviews online (for example, via Zoom) and he has already participated in some interviews.

  In fact, the probation officer has advised that the defendant is encouraged to participate in said

  interviews. The defendant’s voice recognition monitoring is not unduly burdensome.

         The defendant has served less than one-half of the term of his supervised release and has

  not provided sufficient grounds in support of his request for early termination of supervised

  release.




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         WHEREFORE, based on the foregoing, the United States respectfully requests that the

  Court deny defendant Gregory Welch’s pro se request for early termination of supervised release.

                                                 Respectfully submitted,

                                                 ARIANA FAJARDO ORSHAN
                                                 UNITED STATES ATTORNEY

                                            By: s/ Jennifer A. Keene
                                                  JENNIFER A. KEENE
                                                  ASSISTANT UNITED STATES ATTORNEY
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                                                  500 E. Broward Blvd., 7th Floor
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                                                  Tel: (954) 660-5796 ; Fax: (954) 356-7336
                                                  Email: Jennifer.Keene@usa.doj.gov




                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 18, 2020, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served by United States mail for those counsel and/or parties who are not authorized to

  receive or did not receive the electronic Filing as follows:

  Gregory Welch
  1007 South 21st Avenue
  Hollywood, FL 33020


                                                    s/ Jennifer A. Keene
                                                  JENNIFER A. KEENE
                                                  ASSISTANT UNITED STATES ATTORNEY




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